






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00161-CR






Francisco Villasenor, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 974323, HONORABLE JON N. WISSER, JUDGE PRESIDING






O R D E R


PER CURIAM

The reporter's record was due to be filed on May 2, 2003.  The court reporter failed
to respond to this Court's notice that the reporter's record is overdue.  See Tex. R. App. P. 35.3(c),
37.3(a)(2).

Appellant is represented by appointed counsel on appeal, as he was at trial.  We
assume that if there were any question whether appellant is indigent, the district court would not
have appointed counsel.

The district court is instructed to order the preparation of the reporter's record at no
cost to appellant.  The court reporter for the 299th District Court, Mr. Leon Justice, is ordered to file
the reporter's record no later than July 18, 2003.  No further extension of time will be granted.


It is ordered May 27, 2003.


Before Justices Kidd, Yeakel and Patterson

Do Not Publish


